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AO 245B(SOIL Rev. 7/21) Judgment in a Criminal Case


                                United States District Court
                                            Southern District ofIllinois

      UNITED STATES OF AMERICA                                   JUDGMENT IN A CRIMINAL CASE


                           V.                                    Case Number: 21-CR-30035-SPM
                                                                 USM Number: 35501-509
            ELBERT CARRAWAY
                                                                 BRADFORD KESSLER
                                                                 Defendant's Attorney

THE DEFENDANT:


 Kl    pleaded guilty to count(s) 1 ofthe Indictment
 □     pleaded nolo contendere to count(s)
       which was accepted by the court.
 □     was found guilty on count(s)
       after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

 Title & Section                Nature of Offense                                             Offense Ended    Count
 21 U.S.C. §841(a)(l)           Distribution of a Controlled Substance: Cocaine               10/12/2018          1
 and 841(b)(1)(C)

         The defendant is sentenced as provided in pages 2 through 8 of this Judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

 □     The defendant has been found not guilty on count(s)
 □     Count(s)     Dis □ are dismissed on the motion of the United States.

□     No fine          □ Forfeiture pursuant to order filed     , included herein.
□     Forfeiture pursuant to Order of the Court. See page         for specific property details.
         It is ordered that the defendant shall notify the United States attomey for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by
this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States
attorney of any material change in the defendant's economic circumstances.

                                                              June 30. 2022
Restitution and/or fees may be paid to:                       Date of Imposition of Judgment
Clerk, U.S. District Court*
750 Missouri Ave.
East St. Louis, IL 62201

*Checks payable to; Clerk, U.S. District Court
                                                              Signature of Judge

                                                              STEPHEN P. MCGLYNN, U.S. District Judge
                                                              Name and Title of Judge

                                                              Date Signe
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